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March 23, 2021



VIA ECF

Hon. Victor Marrero
United States District Judge
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:    Ramchandani v. Citigroup, Inc. et al., No. 19-cv-9124(VM)

Dear Judge Marrero:

        We represent Defendants Citigroup, Inc., Citicorp and Citibank, N.A. (“Defendants”) in the above-
referenced action and write pursuant to Your Honor’s Individual Practices (Rules I.A and I.F.) to
respectfully request that Defendants’ time to answer the Complaint be extended from March 25, 2021 to
April 23, 2021. There have been no prior requests to extend this deadline. The parties have conferred
and opposing counsel consents to this requested extension. The requested extension will not affect any
other scheduled dates set by the Court in this action.

       The parties also jointly request that the Court schedule the Prehearing Conference in this action
for May 7, 2021, or at the Court’s earliest convenience after that date.

Respectfully submitted,

/s/ Samuel J. Rubin

Samuel J. Rubin



Cc:    All counsel of record (via ECF)
